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 5 Attorneys for:
   INDALECIO VALENCIA PERALES
 6

 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                          CASE NO. CRS 11-356 KJM

11                                Plaintiff,            REQUEST FOR ORDER AND PROPOSED
                                                        ORDER EXONERATING BOND
12                         v.

13   INDALECIO VALENCIA PERALES,
                          Defendant.
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17                 On August 15, 2011, Mr. Valencia-Perales was ordered released on a $100,000

18         Unsecured appearance bond that was replaced by the posting of real property located at 2300 85th

19         Avenue, Oakland, California, 94605. On September 16, 2011, the above property was posted

20         and a deed of trust and promissory note was recorded in the amount of $60,000. The owners of

21         the property are Marco Valencia and Indalecio Valencia (father of the above named defendant,

22         also named Indalecio Valencia.)

23                 Mr. Indalecio Valencia (defendant) is currently in custody and therefore the bond is no

24         longer necessary. It is hereby requested that the bond referenced above be exonerated and that

25         the Clerk of the District Court be directed to re-convey back to the sureties, the Deeds of Trust

26         and Promissory Notes.

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      Exonerate Bond                                    1
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 1 Dated: January 23, 2014                                   /s/ Dina L. Santos
                                                             DINA SANTOS, ESQ.
 2                                                           Attorney for Indalecio Valencia Perales

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                                                     ORDER
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 8          IT IS SO ORDERED, that the bond in the amount of $60,000, posted and secured by the deed of
                                         th
 9 trust and promissory note from 2300 85 Avenue, Oakland, California 94065, is hereby exonerated, and

10 that the Clerk of the District Court is directed as soon as practicable, to re-convey back the Trustor, the

11 Deed of Trust and Promissory Note.

12 Dated: January 28, 2014

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                                                                  UNITED STATES DISTRICT JUDGE
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      Exonerate Bond                                     2
